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                      EXHIBIT 1
       Case: 1:20-cv-00132-JG Doc #: 1-2 Filed: 01/21/20 2 of 9. PageID #: 10



                               IN THE CURT OF COMMON PLEAS

                                  CUYAHOGA COUNTY, OHIO




NAME: MICHELLE MARIE ROSE
                                                             Judge: SHERRJEM1DAY

ADDRESS: 13232 PAINESVILLE WARREN ROAD                            CV 19 926895

CITY, STATE AND ZIP: PAINESVILLE OHIO 44077                  COMPLAINT

PHONE: 216-324-5608
                                                                                 U179H66
PLAINTIFF                                           111791466

VS.

NAME: UNIVERSITY HOSPITALS INC.

ADDRESS: 11100 EUCLID AVENUE

CITY, STATE AND ZIP: CLEVELAND, OHIO 44106

PHONE: 216-593-5500

DEFENDANT(S)

AND

NAME: UNIVERSITY HOSPITALS PHYSICIAN SERVICES INC

ADDRESS: 20800 HARVARD ROAD

CITY, STATE AND ZIP: HIGHLAND HILLS, OHIO 44122

PHONE: 216-593-5500

DEFENDANT(S)




                                  DEPOSITED
          Case: 1:20-cv-00132-JG Doc #: 1-2 Filed: 01/21/20 3 of 9. PageID #: 11



                                               COMPLAINTS:

1.   Harassment and retaliation for whistle blowing
     a.   After meeting with the financial department and upper managment at University Hospitals
          regarding many incorrect charges on my physicians financials, UHPS President and UHPS Vice
          President "resigned" from thier positions. Managment at the hospital had then taken over.
          University Hospitals pension plans were "frozen" and new ones were implicated.
     b.   All UHPS office managers had a title change and job description. The office managers were
          also removed as salary emloyees and changed to hourly.
     c.   UHPS employees had their earned sick time was "frozen" and could only be used if we had a
          medical reason such as surgery.
     d.   UHPS paid time off "PTO" was revamed and some managers had employees in the practice
          earning more vacation time than the managers were now earning.




2.   Violation of my FMLA rights.
     a.   I was on FMLA for personal medical issues and that was July 2017 through July 2018. It was
          approved.
     b.   I initated a second FMLA for my father who was diagnosed in August of 2017 with pancreatic
          cancer which was also approved.
     c.   I had an FMLA for my scheduled reconstructive knee surgery November 27,2017. Originally
          denied and later approved.

     I recieved a call from the VA Medical Center on October 20,2017 that my father was sent to the
     ICU and it did not look good. I went to the VA Medical Center and contacted my direct supervisor
     and office letting them know that I would not be back in the office. I did however had my finance
     go to the office and pick up my laptop, billing tickets that needed to be entered and many other
     things that I would work on while I was at the VA Medical Center.

     My director Brian Boardman, and my supervisor Cindy Clark were both aware of me working
     while on FMLA and would even call me, email me and ask me to do things while on FMLA.

     I was on a continous FMLA leave from October 20, 2017 through November 20, 2017 and worked
     during the inteir FMLA leave with my director and buisness manager fully aware and supporting
     my working while on continus leave.

     I returned to work on Monday November 20,2017 and worked that entire week and took work
     home as well for the weekend. I was promised help in the office while I was on FMLA and that did
     not happen and I came back to the office with piles and piles of charge enry tickets on my office
     floor. I had reconsructive knee surgery on Monday November 27, 2017 and attempted to return
     to work on Monday December 11,2017.

     I worked Monday through Thursday that week and started having problems with my knee. I
     called the surgeons office and he sheduled me for a follow up on Friday December 15,2017. He
     placed me out of work until January 15, 2018. I informed my supervisor, director and stopped in
     the office and faxed all papers to the FMLA / short term disiablity office. I did take the piles of
     work that needed done home with me.
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   I was reaching out to the employees via phone calls and text messages as I was hving a problem
   trying to get onto the VPN for work and asked them to email me at my personal home email as I
   could not get into the one for work.

   I was called on Wednesday December 20, 2017 10am in the morning and the call was coming from
   my personal office. I answered and it was Valerie Jaggie and Cynthia'Clark who informed me that
   I was terminated from employment at UH affective today. They did this during clinic hours /
   business hours where patients and my employees could hear because of being on speaker phone
   and where my office was located.

   I was very upset and humiliated as per UH policy, terminations are to done in the up most private
   area and kept very personal. The main termination reason was working while on continous leave.

   Now they had no problem with me working while on a continous leave October 20,2017 through
   November 20, 2017 but now it was a problem.



3. Termination of medical insurance 20 days post op and against my surgeons suggestion.
   a.   I was to have full insurance coverage until the end of January according to Valerie Jaggie. I did
        see my surgeon on December 29, 2017 and he stated that I needed at least 7 more weeks of
        physical theray and also at least two more office visits with him for a follow up.
   b.   Valerie Jaggie did not put in the proper termination date and my insurance ended on
        December 31,2017.
   c.   Due to this, I now have been having knee problems with the same knee. I had an
        appointment with the surgeon again on October 2019. He ordered an MRI. The MRI
        confirmed that I have a torn meniscus and I now require another surgery as it did not heal
        properly. I did verbally ask him in the office and my finance present as well, if the lack of
        medical attention, medications and physical therapy could be a result of this reoccuring injury
        and the need to have another surgery? He stated that it absolutley could be a result of that.


        I am seeking compensation for mental, emotional and physical injuries, violation of my FMLA
        rights and for the contsent harrasment sent via email, calls and texts as well.
                                                                                                        \    ■

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                                                                                      Judge: SHERRIE MIDAY

                                                                                                CV 19 926895
                                       Common Pleas Court ot Cuyahoga County, Ohio

             DESIGNATION FORM TO BE USED TO iNDI^TE^i^GLASSIFICATIONOF THE CAUSE


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PlaiitifT                                                    '/filo DEC
                                                                    pm 20 P f;29                    Case Number:
                                                                                                            Date:                                \




Defendant                                                    ^Nry
  Has this case been previously filed and dismissed? YesEZZJ No

  Case#:                                  Judge:                              '  xy
  Is this case related to any new cases now pending or previously filed? Yes D No KX)
  Case#:                               ■                 Judge:         ______ :

CIVIL CLASSIFICATIONS: Place an (X) In ONE Classification Only.


                        r '
    Professional Torts:                                                                     Foreclosures:
   O 1311 Medical Malpractice                                                               utilize Separate Foreclosure Designation Form
   I—I 1315 Dental Malpractice
   O 1316 Optometric Malpractice                                                            Commercial Docket:
   O 1317 Chiropractic Malpractice                                                             1386 Commercial Docket
 ,.L~kl312 Legal Malpractice                                                                O 1387 Commercial Docket with Foreclosure
  ^M313 Other Malpractice
                                                                                               ministrative Appeals:
                                                                                               il£40 Employment Services
   Product Liability:
      1330 Product Liability                                                                    1551 Other


  Other Torts:                                                                              Other Civil:
  O 1310 Motor Vehicle Accident                                                             O 1500 Replevin/Attachment
  O 1314 Consumer Action                                                                    O 1382 Business Contract
     1350 Misc. Tort                                                                        O 1384 Real Estate Contract
                                                                                               1388 Consumer Debt
   Workers Compensation:                                                                       1390 Cognovit
       1550 Workers Compensation                                                            O 1391 Other Contacts
   I—I 1531 Workers Comp. Asbestos                                                          O 1490 Foreign Judgment
                                                                                            O 1491 Stalking Civil Protection Order
                                                                                               1501 Misc. Other
                                                                                               1502 Petition to Contest Adam Walsh Act
                                                                                            O 1503 Certificate of Qualification for Employment



 .Amount of Controversy:                                                                   Parties have previously attempted one of the
  ST None Stated                                                                           following prior to filing:
 /LTLess than $25,000                                                                      O Arbitration
  O Prayer Amount                                                                          Q Early Neutral Evaluation




   I certify that to the best of my knowledge the within cose is not related to any now pending or previously filed, expect as noted above.


   Firm Name (Print or typ^^       (2_Axj2—IV#                                     ReCOr°' (Pr'ntorT'>'Pe)


   Address                                  v           .               Supreme Court ft
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1/21/2020          Case: 1:20-cv-00132-JG Doc #: 1-2CivilFiled:
                                                          Case Docket Page
                                                                01/21/20   6 of 9. PageID #: 14




       CASE INFORMATION

            CV-19-926895 MICHELLE ROSE vs. UNIVERSITY HOSPITALS

                                                                                                    View Printer Friendly Version



                                                      Docket Information


            From Filing Date          Docket Type 1 Docket Type 2       Docket Type 3 Docket Type 4      Filter Results
              /      /                 [SELECT]        [SELECT]          [SELECT]        [SELECT]        Start Search


        Filing             Docket Docket                                                                              View
                                         Docket Description
        Date               Party Type                                                                                Image
        12/27/2019 N/A                    SR              FEDEX RECEIPT NO. 40669602
                                                          DELIVERED BY FEDEX 12/26/2019
                                                          UNIVERSITY HOSPITALS
                                                          PHYSICIAN SERVICES INC
                                                          PROCESSED BY COC 12/27/2019.
        12/25/2019 N/A                    SR              FEDEX RECEIPT NO. 40669601
                                                          DELIVERED BY FEDEX 12/24/2019
                                                          UNIVERSITY HOSPITALS INC
                                                          PROCESSED BY COC 12/25/2019.
        12/23/2019 D2                     CS              WRIT FEE
        12/23/2019 D2                     SR              SUMS COMPLAINT(40669602)
                                                          SENT BY FEDERAL EXPRESS. TO:
                                                          UNIVERSITY HOSPITALS
                                                          PHYSICIAN SERVICES INC 20800
                                                          HARVARD ROAD HIGHLAND
                                                          HILLS, OH 44122-0000
        12/23/2019 D1                     CS              WRIT FEE
        12/23/2019 D1                     SR              SUMS COMPLAINT(40669601)
                                                          SENT BY FEDERAL EXPRESS. TO:
                                                          UNIVERSITY HOSPITALS INC
                                                          11100 EUCLID AVENUE
                                                          CLEVELAND, OH 44106-0000
        12/20/2019 N/A                    SF              JUDGE SHERRIE MIDAY

https://cpdocket.cp.cuyahogacounty.us/CV_CaseInformation_Docket.aspx?q=d0QgkhNfDUmvbr2hlOgmkQ2                                      1/2
1/21/2020            Case: 1:20-cv-00132-JG Doc #: 1-2CivilFiled:
                                                            Case Docket Page
                                                                  01/21/20   7 of 9. PageID #: 15
                                                                ASSIGNED (RANDOM)
        12/20/2019 P1                          SF               LEGAL RESEARCH
        12/20/2019 P1                          SF               LEGAL NEWS
        12/20/2019 P1                          SF               LEGAL AID
        12/20/2019 P1                          SF               COURT SPECIAL PROJECTS
                                                                FUND
        12/20/2019 P1                          SF               COMPUTER FEE
        12/20/2019 P1                          SF               CLERK'S FEE
        12/20/2019 P1                          SF               DEPOSIT AMOUNT PAID
                                                                MICHELLE ROSE
        12/20/2019 N/A                         SF               CASE FILED
        12/20/2019 P1                          SR               COMPLAINT FILED. SERVICE
                                                                REQUEST - SUMMONS BY FEDEX
                                                                TO THE DEFENDANT(S).

     Only the official court records available from the Cuyahoga County Clerk of Courts, available in person, should be relied upon as accurate and
                                                                        current.
                                                             Website Questions or Comments.
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https://cpdocket.cp.cuyahogacounty.us/CV_CaseInformation_Docket.aspx?q=d0QgkhNfDUmvbr2hlOgmkQ2                                                        2/2
SUMMONS IN A CIVIL ACTION                        COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                              CLEVELAND, OHIO 44113
                  CASE NO.         Case: 1:20-cv-00132-JG Doc
                                                     SUMMONS   #: 1-2 Filed: 01/21/20
                                                             NO.                      8 of 9. PageID #: 16
               CV19926895                DI EX                  40669601                                          Rule 4(B) Ohio

                                                                                                                 Rules of Civil
                                                                                                                 Procedure
                                 MICHELLE ROSE                        PLAINTIFF
                                      VS                                                                        SUMMONS
                           UNIVERSITY HOSPITALS                       DEFENDANT




          UNIVERSITY HOSPITALS INC                                                     You have been named defendant in a sums
          11100 EUCLID AVENUE                                                        complaint (copy attached hereto) filed in Cuyahoga
          CLEVELAND OH 44106-0000                                                    County Court of Common Pleas, Cuyahoga County
                                                                                     Justice Center, Cleveland, Ohio 44113, by the
                                                                                     plaintiff named herein.

                                                                                      You are hereby summoned and required to answer
                                                                                     the complaint within 28 days after service of this
                     Said answer is required to be served on:                        summons upon you, exclusive of the day of service.

                                                                                       Said answer is required to be served on Plaintiff's
          Plantiff's Attorney (Pro Se)                                               Attorney (Address denoted by arrow at left.)

          MICHELLE MARIE ROSE                                                          Your answer must also be filed with the court
          13232 PAINESVILLE WARREN ROAD                                              within 3 days after service of said answer on
                                                                                     plaintiff's attorney.
          PAINESVILLE,             OH 44077-0000
                                                                                       If you fail to do so, judgment by default will be
                                                                                     rendered against you for the relief demanded in the
                                                                                     complaint.

                   Case has been assigned to Judge:

          SHERRIE MIDAY
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                NAILAH K.       BYRD
                                                                           Clerk of the Court of Common Pleas


                    DATE SENT
           Dec 23,         2019                       By
                                                                       Deputy


             COMPLAINT FILED             12/20/201
                                                                                    40669601




CMSN130
SUMMONS IN A CIVIL ACTION                        COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                              CLEVELAND, OHIO 44113
                  CASE NO.         Case: 1:20-cv-00132-JG Doc
                                                     SUMMONS   #: 1-2 Filed: 01/21/20
                                                             NO.                      9 of 9. PageID #: 17
               OV19926895                D2 EX                  40669602                                          Rule 4(B) Ohio

                                                                                                                 Rules of Civil
                                                                                                                 Procedure
                                 MICHELLE ROSE                        PLAINTIFF
                                      VS                                                                        SUMMONS
                           UNIVERSITY HOSPITALS                       DEFENDANT




          UNIVERSITY HOSPITALS PHYSICIAN                                               You have been named defendant in a sums
          SERVICES INC                                                               complaint (copy attached hereto) filed in Cuyahoga
          20800 HARVARD ROAD                                                         County Court of Common Pleas, Cuyahoga County
          HIGHLAND HILLS OH 44122-0000                                               Justice Center, Cleveland, Ohio 44113, by the
                                                                                     plaintiff named herein.

                                                                                      You are hereby summoned and required to answer
                                                                                     the complaint within 28 days after service of this
                     Said answer is required to be served on:                        summons upon you, exclusive of the day of service.

                                                                                       Said answer is required to be served on Plaintiff's
          Plantiff's Attorney (Pro Se)                                               Attorney (Address denoted by arrow at left.)

          MICHELLE MARIE ROSE                                                          Your answer must also be filed with the court
          13232 PAINESVILLE WARREN ROAD                                              within 3 days after service of said answer on
                                                                                     plaintiff's attorney.
          PAINESVILLE,             OH 44077-0000
                                                                                       If you fail to do so, judgment by default will be
                                                                                     rendered against you for the relief demanded in the
                                                                                     complaint.

                   Case has been assigned to Judge:

          SHERRIE MIDAY
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                NAILAH K.       BYRD
                                                                           Clerk of the Court of Common Pleas


                    DATE SENT
           Dec 23,         2019                       By
                                                                       Deputy


             COMPLAINT FILED             12/20/201
                                                                                    40669602




CMSN130
